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          Exhibit B
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                                            AFFIDAVIT

Roger Aronoff, being duly sworn, hereby deposes and says:

   1. I have been a journalist and filmmaker for the past 50 years.
   2. I was the Editor of Accuracy in Media (AIM) from 2010 through 2017.
   3. I am currently the Executive Director and Editor of the Citizens Commission on National
      Security.
   4. During the time I worked at AIM, I became friends with Admiral James "Ace" Lyons
      (ret.)
   5. I proofread a number of columns, but certainly not all, for Admiral Lyons, which he
      would then usually submit to the Washington Times.
   6. I was never asked by anyone and I never did write a first draft or any draft of a column
      for Admiral Lyons, ever at any time. The only thing I did was proofread what he had
      written. I would correct spelling, grammar and improve sentence structure. Ifl thought
      something was factually incorrect, I would correct it. All edits I made in the proofreading
      process were done by using the Review and Mark-up system that exists in Word. I would
      send the marked-up version back to Admiral Lyons, and he would take it from there. In
      most cases he accepted my proofing, but not always.
   7. In the case involving the article he wrote about Seth Rich in February or March of 2017,
      no one asked me to write up a first draft, or any draft, and I am not sure that I did proof it
      at all. While I have been able to find some of the revised columns that I sent him back, I
      have been unable to find this one in particular, leading me to question ifI ever reviewed
      it or proofed it at all. It is possible that I did, but if I did, that is all I did. But I have no
      specific memory of having proofed that particular column.

I swear, under penalty of perjury, that the forgoing is true to the best of my information,
knowledge, and belief.



                                       Date: September 29, 2020


                                          ~ L~H
